Case 1:22-cv-00983-VEC   Document 300-2
                                  257-2   Filed 11/05/24
                                                08/08/24   Page 1 of 28




                   EXHIBIT 2
      Case 1:22-cv-00983-VEC      Document 300-2
                                           257-2      Filed 11/05/24
                                                            08/08/24   Page 2 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                             Page 1

1                          IN THE UNITED STATES DISTRICT COURT
2                         FOR THE SOUTHERN DISTRICT OF NEW YORK
3
4           NIKE, INC.,                                        )
                     Plaintiff,                                )
5                                                              )
                                                               )
6                   vs.                                        ) Case No.:
                                                               ) 1:22-cv-00983-VEC
7           STOCKX LLC,                                        )
                     Defendant.                                )
8           ___________________________________)
9
10
11
12
13           HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY
14                        VIDEO-RECORDED 30(b)(6) DEPOSITION OF
15                                   HEATHER PAULSON
16                                  Portland, Oregon
17                         Friday, January 6, 2023; 9:11 a.m.
18
19
20
21
22          REPORTED BY:
23          Victoria A. Guerrero, CSR, RPR, CRR
24          Job No. 5593361
25          Pages 1 through 291

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      Case 1:22-cv-00983-VEC      Document 300-2
                                           257-2      Filed 11/05/24
                                                            08/08/24   Page 3 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                             Page 2

1                          IN THE UNITED STATES DISTRICT COURT
2                         FOR THE SOUTHERN DISTRICT OF NEW YORK
3
4           NIKE, INC.,                                        )
                    Plaintiff,                                 )
5                                                              )
                                                               )
6                   vs.                                        ) Case No.:
                                                               ) 1:22-cv-00983-VEC
7           STOCKX LLC,                                        )
                    Defendant.                                 )
8           ___________________________________)
9
10
11
12
13
14
15
16                  BE IT REMEMBERED that, pursuant to Federal
17          Rules of Civil Procedure, the 30(b)(6) deposition of
18          HEATHER PAULSON taken on behalf of the Defendant was
19          taken before Victoria A. Guerrero, Certified
20          Shorthand Reporter, Registered Diplomate Reporter,
21          Registered Merit Reporter, and Certified Realtime
22          Reporter, on Friday, January 6, 2023, commencing at
23          the hour of 9:11 a.m., at Stoel Rives LLP, 760 SW
24          Ninth Avenue, Suite 3000, in the City of Portland,
25          County of Multnomah, State of Oregon.

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                                        257-2      Filed 11/05/24
                                                         08/08/24   Page 4 of 28

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                                                                       Page 36

1           your current role?
2                   A   Yes.
3                   Q   What is your current title?
4                   A   VP of Connected Marketplace.
5                   Q   As the VP of Connected Marketplace, you are
6           responsible for the Global New Commerce Business
7           which we've been discussing and Connected
8           Partnership?
9                   A   Yes.
10                  Q   What is Connected Partnership?
11                  A   Connected Partnership is how we extend Nike
12          Direct capabilities.         So if you think about
13          connected membership and connected inventory to our
14          traditional partners.
15                      So the ones that we talked about at the
16          beginning.     So Dick's, Foot Lockers, Alano
17          (phonetic), the people who sell the bulk of our
18          product, we're figuring out how to reset and evolve
19          and bring to a new era, bring into a new era a
20          business model with our traditional partners.
21                  Q   And you mentioned connected membership.
22          What does that mean?
23                  A   It means our ability to know and serve
24          members wherever they're shopping across the
25          marketplace.       So if you go to a Dick's Sporting

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      Case 1:22-cv-00983-VEC   Document 300-2
                                        257-2      Filed 11/05/24
                                                         08/08/24   Page 5 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                       Page 46

1           Nike's digital goods business?
2                        MR. MILLER:       Objection to form.
3                        THE WITNESS:        No.
4           BY MR. FORD:
5                   Q   So we've talked a lot about various ways in
6           which Nike sells product directly to consumers.                        Do
7           you understand what I mean when I use the term
8           "secondary marketplace"?
9                        MR. MILLER:       Objection to form.
10          BY MR. FORD:
11                  Q   Or do you understand the term "secondary
12          marketplace"?
13                  A   I know how I would define it.
14                  Q   How would you define secondary marketplace?
15                  A   I would define it as a -- I would define it
16          as a marketplace that enables sales of product after
17          the first sale to, you know, match supply and
18          demand.     So in Nike's case, the resale of sneakers.
19                  Q   And during your time at Nike,


21
22                  A
23                       MR. MILLER:       Objection to form.
24          BY MR. FORD:
25                  Q

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      Case 1:22-cv-00983-VEC   Document 300-2
                                        257-2      Filed 11/05/24
                                                         08/08/24   Page 6 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                       Page 47

1


3                        MR. MILLER:       Objection to form.
4                        THE WITNESS:
5           BY MR. FORD:
6                   Q   And what discussions do you recall being
7           involved in in 2015?
8                   A




13                       MR. MILLER:       Objection to form.
14                       THE WITNESS:




19          BY MR. FORD:
20                  Q   Just so I'm sure we understand each other,
21          when you say "heat" of the product, what do you
22          mean?
23                  A   How covetable our product is.
24                  Q   The demand for Nike products among
25          consumers?

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      Case 1:22-cv-00983-VEC        Document 300-2
                                             257-2         Filed 11/05/24
                                                                 08/08/24   Page 7 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                               Page 48

1                               MR. MILLER:        Objection to form.
2                               THE WITNESS:         I wouldn't phrase it that
3                       way.     That's more -- demand to us is how much
4                       of the product sold.              This is more about brand
5                       heat and relevance.
6           BY MR. FORD:
7                   Q          Got it.     When you say
                                 " what do you mean?
9                               MR. MILLER:        Objection to form.
10                              THE WITNESS:




15          BY MR. FORD:
16                  Q




20                              MR. MILLER:        Objection to form.
21                              THE WITNESS:         I mean like in the AJ1
22                      versus the AJ7 versus the Air Force 1, and
23                      specifically the triple wide Air Force 1.




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      Case 1:22-cv-00983-VEC   Document 300-2
                                        257-2      Filed 11/05/24
                                                         08/08/24   Page 8 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                       Page 49

1           BY MR. FORD:
2                   Q


4                        MR. MILLER:       Objection to form.
5                        THE WITNESS:        Yes.
6           BY MR. FORD:
7                   Q


9                   Q   Who is Josh Luber?
10                  A   At the time he was the CEO of Campless.
11                  Q   And other than Mr. Luber and Campless,




14                       MR. MILLER:       Objection to form.
15                       THE WITNESS:        I or my team did not.
16          BY MR. FORD:
17                  Q   What is Campless?
18                  A   Campless was a side project for Josh who
19          worked at IBM at the time that sold data mostly to
20          investment banks and other people on the price that
21          sneakers were trading for on secondary marketplaces.
22          At the time primarily eBay.
23                  Q


25                       MR. MILLER:       Objection to form.

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      Case 1:22-cv-00983-VEC   Document 300-2
                                        257-2      Filed 11/05/24
                                                         08/08/24   Page 9 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                       Page 50

1                        THE WITNESS:




5           BY MR. FORD:
6                   Q
                          Withdrawn.       Let me restart that question.
8


10                       MR. MILLER:       Objection to form.
11                       THE WITNESS:        No.


13          BY MR. FORD:
14                  Q




18                       MR. MILLER:       Objection to form.
19                       THE WITNESS:




22          BY MR. FORD:
23                  Q   I'm trying to understand.




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     Case 1:22-cv-00983-VEC    Document 300-2
                                        257-2      Filed 11/05/24
                                                         08/08/24   Page 10 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                        Page 51

1                   A   Yes.
2                   Q   So let's start there.
3                   A   Yes.
4                   Q




7                        MR. MILLER:        Objection to form.
8                        THE WITNESS:




20          BY MR. FORD:
21                  Q   Got it.     That's, I think, what I was trying
22          to get at,




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     Case 1:22-cv-00983-VEC   Document 300-2
                                       257-2     Filed 11/05/24
                                                       08/08/24   Page 11 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                      Page 52

1                       Sounds like it was the latter?
2                        MR. MILLER:      Objection to form.
3                        THE WITNESS:




8           BY MR. FORD:
9                   Q


11                       MR. MILLER:      Objection to form.
12                       THE WITNESS:




15          BY MR. FORD:
16                  Q




20                       MR. MILLER:      Objection to form.
21                       THE WITNESS:       I'm not aware.
22          BY MR. FORD:
23                  Q


25                       MR. MILLER:      Objection to form.

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     Case 1:22-cv-00983-VEC        Document 300-2
                                            257-2     Filed 11/05/24
                                                            08/08/24   Page 12 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                           Page 53

1                            THE WITNESS:




4           BY MR. FORD:
5                   Q       And what -- let's take those separately.
6                                                                         -- I guess
7           let me -- let me withdraw that and back up.
8


10                           MR. MILLER:       Objection to form.
11                           THE WITNESS:        Ongoing.
12          BY MR. FORD:
13                  Q       And during what time period beginning in
14          2015,


16                           MR. MILLER:       Objection to form.
17                           THE WITNESS:        It concluded -- depends what
18                      you mean by "conclude."
19          BY MR. FORD:
20                  Q       So you said it was ongoing?
21                  A       Yes.
22                  Q       Is it ongoing 'til today?
23                  A       No.
24                  Q       When did it cease?
25                  A

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     Case 1:22-cv-00983-VEC         Document 300-2
                                             257-2     Filed 11/05/24
                                                             08/08/24   Page 13 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                            Page 54

1           And then I'm not sure exactly when it ceased.                          It
2           ceased after I left North America Analytics and
3           moved to my global role.
4                   Q


6                            MR. MILLER:        Objection to form.
7                            THE WITNESS:         I don't recall.          If I had to
8                       guess,




14          BY MR. FORD:
15                  Q       Sure.


17                           MR. MILLER:        Objection to form.
18                           THE WITNESS:         Yeah.




                                                I don't really remember.
23          BY MR. FORD:
24                  Q       But you weren't receiving it in realtime, I
25          guess --

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                                       257-2     Filed 11/05/24
                                                       08/08/24   Page 14 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                      Page 95

1           opportunity, do you recall


3                   A   Oh, yes.
4                   Q   What was another one?
5                   A


7                   Q   And what does that refer to?
8                   A




23                  Q


25                  Q   So just so I understand, the opportunity

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     Case 1:22-cv-00983-VEC      Document 300-2
                                          257-2     Filed 11/05/24
                                                          08/08/24   Page 15 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                       Page 130

1           ends in 620, it reads, Nike is the most
2           counterfeited brand.            Nike is the top selling
3           sneaker brand on the second market.
4                           Is it your understanding that this
5           sentence, "Nike is the most counterfeited brand," is
6           with respect to all brands or sneaker brands or what
7           is the -- when it's the most counterfeited, do you
8           know what that's in relation to?
9                            MR. MILLER:     Objection to form.
10                           THE WITNESS:      I don't know what it's in
11                      reference to.   Could be either of the two
12                      hypotheses you suggested.
13          BY MR. FORD:
14                  Q       Do you personally have any understanding as
15          to whether Nike is the most counterfeited brand in
16          general or just within a particular segment?
17                  A       I don't have personal knowledge.              I know
18          that I have heard statements before and I've never
19          asked the clarifying question, is that within our
20          industry or broader?
21                  Q       But do you believe it's an accurate
22          statement that at least within some point of
23          reference Nike is the most counterfeited brand?
24                           MR. MILLER:     Objection to form.
25                           THE WITNESS:      We're the largest brand, so

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     Case 1:22-cv-00983-VEC           Document 300-2
                                               257-2     Filed 11/05/24
                                                               08/08/24   Page 16 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                            Page 131

1                       yes.     It's consistent with that.
2           BY MR. FORD:
3                   Q          When you say "the largest brand" there, do
4           you mean largest brand within the sneaker industry?
5                               MR. MILLER:       Objection to form.
6                               THE WITNESS:        Yes.      We're also the largest
7                       apparel brand, but yes.
8           BY MR. FORD:
9                   Q          That's helpful.         So your understanding is
10          Nike is the largest apparel brand as well as the
11          largest sneaker brand?
12                  A          Yes.
13                  Q          So is it your understanding also that Nike
14          is the most counterfeited sneaker brand?
15                              MR. MILLER:       Objection to form.
16                              THE WITNESS:        Is it my understanding.               I
17                      don't have specific facts on it, but it
18                      certainly wouldn't surprise me.                   And I've heard
19                      statements like that frequently in my time at
20                      Nike.
21          BY MR. FORD:
22                  Q          From other Nike employees?
23                  A          Yes.
24                  Q          Including Nike Brand Protection employees?
25                  A          Including gray market employees.                I can't

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     Case 1:22-cv-00983-VEC        Document 300-2
                                            257-2     Filed 11/05/24
                                                            08/08/24   Page 17 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                         Page 181

1                       exactly other than what's in the appendix.                     We
2                       didn't talk about this specifically.
3           BY MR. FORD:
4                   Q       So if you look -- when you say the
5           appendix, do you mean these next --
6                   A       Yes.
7                   Q       -- three slides that refer to adidas, Blue
8           Bite, Foot Locker, GOAT.
9                   A       Yes.
10                  Q       Let me just take these in turn.                Does Nike
11          consider adidas a competitor?
12                  A       Yes.
13                  Q       Does Nike consider Blue Bite a competitor?
14                  A       No.
15                  Q       Do you know what Blue Bite is?
16                  A       No.
17                  Q       Does Nike consider Foot Locker a
18          competitor?
19                  A       Probably.     More a partner.
20                  Q       Do you know what GOAT is?
21                  A       Yes.
22                  Q       Does Nike consider GOAT a competitor?
23                  A       Probably not.
24                  Q       Does Nike consider StockX a competitor?
25                  A       Probably not.

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     Case 1:22-cv-00983-VEC        Document 300-2
                                            257-2     Filed 11/05/24
                                                            08/08/24   Page 18 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                         Page 183

1           that we've been discussing?
2                   A       Yes.
3                   Q       And you write below that,




21                           MR. MILLER:       Objection to form.
22                           THE WITNESS:        I am the global leader of
23                      new commerce partners.           So I don't run every
24                      partnership, but yes, I would consider them
25                      part of the scope of my role.

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     Case 1:22-cv-00983-VEC         Document 300-2
                                             257-2     Filed 11/05/24
                                                             08/08/24   Page 19 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                          Page 184

1           BY MR. FORD:
2                   Q




16                  Q       Does your team -- actually, withdrawn.
17




21                           MR. MILLER:        Objection to form.
22                           THE WITNESS:         I don't think I understand
23                      the question.
24          BY MR. FORD:
25                  Q       Sure.     Let me try again.           Do you have

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     Case 1:22-cv-00983-VEC        Document 300-2
                                            257-2     Filed 11/05/24
                                                            08/08/24   Page 20 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                         Page 208

1           well as the SNKRS app?
2                   A       Yes.    And mobile web, yes.
3                   Q       What was the difference between the Nike --
4           general Nike commerce app, as you put it, and the
5           SNKRS app?
6                            MR. MILLER:       Objection to form.
7                            THE WITNESS:        There are a lot of
8                       differences.     The experience is different, the
9                       products sold there are different, the
10                      consumers themselves are different.
11          BY MR. FORD:
12                  Q       In what way are the consumers different?
13                  A       I should actually say the occasion that is
14          served is different.             This SNKRS app is more around
15          -- more maybe culturally leading, cultural pushing
16          styles that are oftentimes more allocated and it's
17          serving more that style of sport.
18                          And our Nike app is more, we sell
19          sportswear there, too, but it's more serving the
20          performance occasion, people who want to run, people
21          who want to play soccer.                And it's more grounded
22          there.
23          BY MR. FORD:
24                  Q       When you say that the SNKRS app has styles
25          that are oftentimes more allocated, what do you mean

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     Case 1:22-cv-00983-VEC         Document 300-2
                                             257-2     Filed 11/05/24
                                                             08/08/24   Page 21 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                          Page 209

1           by "allocated"?
2                   A




10          BY MR. FORD:
11                  Q


13                              MR. MILLER:     Objection to form.
14                              THE WITNESS:      I don't know that at any
15                      level of detail.        It's not in the scope of my
16                      role.
17          BY MR. FORD:
18                  Q       That's fine.        Why was the deck that we're
19          looking at here as Exhibit 7 put together?
20                  A




23                  Q       So this deck was put together in and around
24          April of 2019; is that right?
25                  A       Looks like it.

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     Case 1:22-cv-00983-VEC        Document 300-2
                                            257-2     Filed 11/05/24
                                                            08/08/24   Page 22 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                         Page 221

1           BY MR. FORD:
2                   Q       I see.    So less chicken and egg and more
3           sort of iterative development of the business model
4           alongside deeper learnings about consumer
5           preferences?
6                   A       Yes.
7                   Q       The third bullet there says, it's -- not a
8           bullet, but the third line says,




19                           MR. MILLER:       Objection.        And I will
20                      caution the witness to answer that question
21                      without revealing any information that would
22                      have been given to you by counsel.                So if you
23                      can answer the question without revealing any
24                      attorney-client communications, you can, but
25                      I'm giving you that caution.

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    Case 1:22-cv-00983-VEC    Document 300-2
                                       257-2     Filed 11/05/24
                                                       08/08/24   Page 23 of 28

              HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                    Page 222

1                         THE WITNESS:      Okay.      We felt that there
2                  were key risks to -- that we learned from
3                  consumers.    And -- just generally.              And I think
4                  the two key ones, from my recollection, one is
5                  not from a legal perspective, but from a
6                  consumer perspective -- let me start with this
7                  one.
8




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     Case 1:22-cv-00983-VEC      Document 300-2
                                          257-2       Filed 11/05/24
                                                            08/08/24   Page 24 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                         Page 263

1                   Q       So there would have been a final version of
2           this deck where these comments would have been
3           resolved and removed?
4                            MR. MILLER:       Objection to form.
5                            THE WITNESS:        Yes.      There should have been
6                       a final version of this deck.             Although, at
7                       some point, as I said, we decided to move away
8                       from this.   But I don't -- I don't remember
9                       when that was.
10          BY MR. FORD:
11                  Q




23                           MR. MILLER:       Objection to form.
24                           THE WITNESS:        Pre-COVID.       So sometime
25                      between May and, you know, September,

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                                             257-2     Filed 11/05/24
                                                             08/08/24   Page 25 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                          Page 282

1                       outside the scope.
2                            THE WITNESS:         I did not.       Nor the
3                       additional 20, on slide 12, partners who are
4                       mentioned.
5           BY MR. FORD:
6                   Q       There's a lot of partners in here.
7                   A
8                   Q       Okay.     You can set that aside.
9                   A       I'd love to read this, actually.                 It's
10          fascinating.
11                  Q       So moving away from your 30(b)(6)
12          designated testimony since, I think, as you've
13          testified,
                                                        have you personally ever
15          purchased anything on StockX?
16                  A       I have.
17                  Q       What have you purchased on StockX?
18                  A       I purchased two AWOKs in the early days,
19          back in the day, as I was getting to know the
20          partner and understanding how they work, I like to
21          do that.         And I also purchased a handful of Jordans
22          for my nephew.
23                  Q       I apologize for being less familiar with
24          the brands here.            Can you maybe spell -- you said
25          you purchased two AWOKs?

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     Case 1:22-cv-00983-VEC     Document 300-2
                                         257-2     Filed 11/05/24
                                                         08/08/24   Page 26 of 28

               HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

                                                                      Page 283

1                   A   Yeah.     Very cool shoes.           They're Anna
2           Wintour OKs.        We did a collaboration with Anna
3           Wintour of Vogue and she signs everything she
4           approves of A-W-O-K.
5                   Q   Ah, I see.
6                   A   So they're Jordan, AJ1 and AJ3.                 So two of
7           our Jordan, like, kind of franchises.                   And then she
8           used her materials and her color and, you know,
9           they're her design.
10                  Q   And those are Nike shoes that were sold in
11          collaboration with Anna Wintour?
12                  A   Yes.
13                  Q   So other than the two AWOKs, what else did
14          you -- have you purchased on StockX?
15                  A   A handful of Jordans for my nephew, which
16          is -- Jordan is a Nike brand.
17                  Q   When you say a "handful," about how many?
18                  A   Two or three.
19                  Q   And during what time period did you make
20          those purchases?
21                  A   2016 to last March.
22                  Q   When you say "last March," you mean March
23          of 2022?
24                  A   Yes.
25                  Q   Do you recall what the last purchase you

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                                             257-2     Filed 11/05/24
                                                             08/08/24    Page 27 of 28

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                                                                           Page 284

1           made on StockX was?
2                   A       One of my nephew's Jordans.
3                   Q       Have you purchased anything on StockX
4           besides the Nike shoes that you just described?
5                   A       No.     I don't believe so.
6                   Q       Have you ever sold anything on StockX?
7                   A       No.
8                   Q       Have you ever returned or disputed any of
9           the items you purchased on StockX?
10                  A       No.
11                  Q       Are you satisfied with your purchases from
12          StockX?
13                  A       Um, I like the AWOKs.                Yeah.
14                  Q       Why weren't you able to purchase the AWOKs
15          from Nike directly?
16                  A       They were --
17                              MR. MILLER:     Objection to form.
18                              THE WITNESS:
                                                     And to be honest, I didn't
20                      even try in the initial sale and then saw them
21                      around and decided I liked them, so hunted them
22                      down.
23          BY MR. FORD:
24                  Q       And what about the Jordans you purchased
25          for your nephew, why did you buy them on StockX?

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                                             257-2     Filed 11/05/24
                                                             08/08/24   Page 28 of 28

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                                                                          Page 285

1                               MR. MILLER:     Objection to form.
2                               THE WITNESS:      They were out of stock on
3                       Nike.
4           BY MR. FORD:
5                   Q       Have you ever purchased anything from GOAT?
6                   A       That's a good question.              I don't believe
7           so.
8                   Q       Have you ever purchased anything from
9           Stadium Goods?
10                  A       No.
11                  Q       Have you ever purchased anything from
12          Flight Club?
13                  A       No.
14                  Q       Have you ever purchased Nike products on
15          any secondary marketplace other than StockX?
16                  A       Yes.
17                  Q       What other marketplace?
18                  A       Farfetch.
19                  Q       What have you purchased -- what Nike
20          products have you purchased from Farfetch?
21                  A       Similarly some Jordans that I liked.
22                  Q       For yourself?
23                  A       For myself.
24                  Q       About how many?
25                  A       Two or three.

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